Case 2:02-cV-02905-.]DB Document 16 Filed 06/07/05 Page 1 of 3 Page|D 21

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KEWAUNEE SCIENTIFIC CORPORATION, JUDGMENT IN A CIVIL CASE
Plaintiff,

v.

BEERS SKANSKA, INC. CASE NO: 02-2905-B

f/k/a Beers Coostruction Company,

Defendant.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT lS SO ORDERED AND ADJUDGED that in accordance with the Notice Of Voluntary
Dismissal With Prejudice entered on Juoe 7, 2005, this cause is hereby dismissed With
prejudice.

ROVED:

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This notice confirms a copy of the document docketed as number 16 in
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Honorable J. Breen
US DISTRICT COURT

